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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                           )
                                                    )
                      Plaintiff,                    )            8:10CR36
                                                    )
       vs.                                          )             ORDER
                                                    )
JUMANA N. BAKHIT,                                   )
                                                    )
                      Defendant.                    )


       This matter is before the court on the motion of defendant Jumana N. Bakhit (Bakhit) to
amend the order setting conditions of release (Filing No. 19). The prosecution and the pretrial
services officer both oppose the motion.
       Bakhit is charged along with Edward J. Bakhit with a conspiracy to commit bank fraud
(Count I), bank fraud (Count II), wire fraud (Counts III and IV), making false statements to a
federally insured bank (Counts V - IX, XI), and aggravated identity theft (Counts XII-XVI, XIX).
After her arrest, Bakhit was released upon conditions to include the surrender of her passport
and restricting her travel to the State of Nebraska (Filing No. 8). Bakhit claims she was born
and raised in Jerusalem and has lived there until she came to the United States by means of a
fiancee visa in 1997. Bakhit’s husband was born and raised in Omaha. Bakhit became a U.S.
citizen approximately two years ago and returns to Jerusalem and the West Bank every two
years to visit her parents and siblings. The Bakhits have four children, ages 10, 8, 4 and 1.
       The charges contained in the Indictment carry substantial penalties upon conviction. The
charges involve a complicated scheme and artifice to defraud various banks and auto
dealerships utilizing fictitious documents and identities of unknowing victims. The court finds
Bakhit’s promise that she will return to the United States for trial on these charges to be
insufficient to assure her presence for further proceedings in this matter. Upon consideration,
the motion (Filing No. 19) is denied.
       IT IS SO ORDERED.
       DATED this 29th day of April, 2010.


                                                    BY THE COURT:


                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
